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           D OR SEY,
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                A M ICU S C IIR TAE BRIEF BY CH RIS SEW ER O F DE FA CTO ATTOR NEY S
           GRI
            ENER AV,JOHN GUNTER JR OFSPECIALFORCESOFLIBERTYnAND PASTOR
             CH PE  .
                   NK O SK I O F W ARIH O RS O F CH RIST ON TH E ISSU E O F STA NDIN G IN
               PARTIAL SUPPORT AND IN PARTIAL OPPOSITION OF TH E PLM NTIFFS

                ''Whyjustmakeapoliticalstatement,whenyou canwin by àcvjzlg Florida enacttheStop
        SocialMediaCensorshlpActandbythenbringingacauseofactionunderastatestatutethat
       fallssquarely inthestate1/14,exemptionunderSection230(e)(3)''-DeFactoAttorneysGeneral
                                    -   Interview with the WashingtonExaminer

                                              w wm specialforcesollibetv.com

                                                TA BLE O F C O NTEN TS
       1. IN    OD U CTION
                                                                                                             1
       11.       LEGISLA E HISTORY          PROCED                   HISTORY OF 0F                 STOP
       SOC          D 1A CEN SOR SHIPA CT,SB 7072,A                RELEVA N T CA SES
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       111. ID ENTIF       G       BEST CO       SE OF A CTION FOR             PLA IN           FS TO TAKE
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   B.How Did W eGetHere-UnderstndingTheCurrentLandscapeAndTheM isuseOfSection
    230
                                                                                             9
    C. The Stop SocialM edia Censorship ActlsThe Cure-allIn View O fThe SigniflcantState-law
    ExemptionA lready BuiltInto Section 230 By Congress
                                                                                            11
    D . Com paring TheD i erencesBe een       33,the Stop Social edia Censorship ct SB
    VCVS                      f




   Cases
   Almeida v.Amazon.com ,Inc.,
   456F.3d 1316(11thCir.2016)




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     rellin ec s.J1nc.v. qui mentlease or .,
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          gency or1nt1 ev.v. ll. or pen Soc,
                                           y Int'l,Inc.,
                                           .

    570 .S.205(2013)
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    ennin sv. o rI' cz,138S. t.830(2018)




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     etchoice,L   etal.,v. oo    et.al.4:21cv220-   -        . .F. 2021

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         k v. hio tate ar ss'n>.
    436 .5.447(1978




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    RealAlternatives,Inc.v.Sec'
                              y ep 'to ealth(â uman Serlw.,150F.Supp.3d419(3dCir.
     ug.4,2017)




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     chool is icto     I'
                        n on ownshi# a.v. chem        #
    374 .S.203(1963
                  '
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   Schnabelv. rile iant or .,
    697F.3d 110,119(2d ir.2012)
                                                                               17
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                                       n Elec.Transactions,Inc.,
    2010 L 1799456,(D. .J. ay4,2020)
                                                                               16
   Stratton a ont,Inc.v. rodi s'ervfce,
                                      ç o.,
    1995    323710 . .Sup.Ct. ay24,1995)
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   47U.S.C.j230

     R33 -T          STOP S Cl                                           E l CE SO S IP CT
   . .. . . . . . . .. . . . . .. . . . . . . .. . . . . . .. . . . . . .. . . . . . .. . . . . ....1,2,3,4,5,6,8,9,10,11,12,13,14,15,16, 17,18
   587072-5106.072,j287.137,andj501.204
   Fla.Stat.j48.193
                                                                                                                                          17
   1.              . .S.(2. .
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                                          1.INTRO D UCTION

           ChristopherSevierEsq.,executive directorofD e FactoA ttorneys General,Jolm Gunter

    Jr.,executive directorofSpecialForces OfLiberty M iam iD ivision,and PastorRich Penkoski,

    executive directorofW arriorsForCluistrespectfully subm itthisam icusbriefon thenarrow

    issueofstanding,givenhow the'
                                originalcomplaintispled.l rheAmicipartially supportthe

    Plaintifs'case,butnotnecessarily underthe currentcausesofaction asserted in the original

    com plainton certain conditions. O n the surface,Plaintiffs'causesofaction lmnecessarily puts

    thejudicialbranchinadim cultpositionbyaskingtheCourttoeither(1)strikedownorvoid47
    U.S.C.#2302(whichisgenerallyEçgoodlaw''butisundoubtedlybeingwrongfullyabusedby
           1 Theevidenceshowsthatlawyersknowjustenoughtobedangerousonanytopicunless
    theyhavelitijatedtheissue.(Seethestafl-lawyerswhoworkforGovernorDesantis,whowrote
    587072theb1l1whichcreated 9106.072,j287.137,andj501.2041).TheAmicihavelitigated
    Section230 issuesandsocialmediacensorship before ahostofFederalCourts,butm ost
    im portantly,they have litigated the m atterbefore countlesslegislative com m itteesin the face of
    robustopposition.                                                                      '
           (1) SeethevideoofthehearingontheSocialM ediaCensorshipActbeforethepublic
    law scom m ittee in M issouri,which included argum entsfrom D e Facto Attonwys General,
    Google,andtheHeartlandlnstitute:(hûps://- .
                                              youtube.coe watch?N e4oW om Kzs)
          (2) Seethevideoofthehearing beforetheCommerceCommitteeintheLouisana
    Senate w ith testim ony by SenatorM orris,De Facto Attom eysGeneral,N etchoice, and
    @ûos://- .voumbe.coe watch?e c-NqzhBco s&t=8s)
           (3) SeethevideoofthehearingbeforetheJudiciaryCommitteeintheSuteofM aine
    with testim ony by Rep.Sampson and De FactoA ttorneys G eneral. '
           (he s://-    .youmbe.com/watch?v=p'l
                                              'z L1
                                                  'nx-dE)
   ltisinthewakeoffightinginlegislativecommitteesajainsttheiradversariesthattheAmicihave
   been able to perfectthe languageofa proposed legislatlve instrum entfora1150 statesentitled the
   Stop SocialM edia Censorship A ct, a billparallelsthe spiritofSection 230 and draw sfrom itin
   amannersothatthestamtewillfallsquarelyinthestate-law exemptionundersubsection(e)
   subparagraph(3)ofSection230.(SeeAppendixA).TheStop SocialM ediaCensorshipActis
   notpreempted by Federal1aw anda causeofaction broughtunderit,onceenacted,willcut
   through an im m unity defense noated by socialm ediaw ebsitesthatbreak theirprom ises,deceive
   consum ers,and actin bad faith.A tthe2021 lègislative session Rep.Sabatiniintroduced the
   m easure asHB 33,  , w hi
                           ch isreferred to asthe Stop SocialM edia Censorship A ct.
          2lfthe Plaintifsw antto ask a Courtto strike dow n Section 230, the Plaintifsm ightneed
   to nam e the enforcerofCongress'slaw s asthe defendant,notTw itter.The U .S.Congresscreated
   Section 230,notTw itter. Perhapsifthe Plaintifrsnam ed the U .S.astheD efendant,thePlaintifs
   w ould have colorable claim to have Section 230 struck down forviolating the Eûrightto reddress
   grievenceclause''orpétition andaccessclauseoftheFirstAm endm ent,ifand only ifthe
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   socialmediawebsitesto pep etratebad faith actsattheexpenseofalitanyoffundamental

   freedoms)orto(2)findthatcertainsocialmediawebsitesarequasi-stateactorsthataresubject
   to com ply w ith FirstA m endm entrestrictions.3W hile PlaintiFs'causesofaction arenot

   necessarilyinvalid,theyareseeminglyweak,askingtoomuohfrom thejudicialbranoh.Butthe
   recentdecisioninNetchoice,LLC etal.,M Moody et.al.4:21cv220-RH-M AF (N.D.F.L
   2021)(DE 113)changeseverything. InthewakeoftheNetchoicedecision,either(1)Section
   230isunconstimtionalunderthepetitionandaocessclauseoftheFirstAmendmentor(2)the
   Courtm ustrule thatFlorida needsto passa betterlaw,like the am ended version ofHB 33,the

   Stop SocialM edia Censorship A ct,by Rep.Sabatiniand Sen.Gruters,thatw illallow consum ers

   ''state-law exemption''undersubsection(e)subparagraph(3)doesn'tallow forproposedshtutes
   like the Stop SocialM edia Censorship A ctto stop the abusive m isuse ofSection 230 in theview
   ofverifiableinjuries.Congressprovidedawayforanaggrievedindividualtoseekredress
   through the state-law exem ption.Butnota single state haspassed the Stop SocialM edia
   Censorship A ct,w hich is avery narrow ly tailored proposed state-statutethatw ould allow for
   aggrieved party to getreddress againstthe a socialm edia website forthekinds ofwrongdoing
   inflicted on thePlaintiffsin thiscaseby theDefendants.TheevidenceshowsthatifSection230
   w asconstrued to preemptthe Stop SocialM edia Censorship A ct,which isdesigned to protect
   Florida consum ers from fraud,breach ofcontract,and safeguard theirfree speech rights,itw ould
   raise seriousdoubtsaboutSection 230's constitutionality underthe FirstA m endm entunder
   Jenningsv.Rodriguez,138S.Ct.830,836(2018)(discussingconstitutionalavoidancecanon)
           3 FirstAm endm entsaystçcongress''shallm ake no law abridging the freedom ofspeech
   orofthe press.The Fourteenth Am endm entextended thisprohibition to state and local
   governm ents.The FirstA m endm entdoesnotrestrictthe rightsofprivate entitiesnotperform ing
   traditional,exclusive public functions.See,e.g.,M anhattan Cza/y.A ccess Corp.M H alleck,139
   S.Ct.1921,1930(2019).Somecourtshavefoundthatprivateforums- howeverpopularthey
   m ightbe- arenotstate actors,and thuscannotviolate anyone'sFirstA m endm entrights.See
   PragerUniv.u GoogleLLC,951F.3d991,994(9thCir.2020).Yet,thePlaintifscouldargue
   thatSection 230 createsa broad law -free zone in w hich internetcom paniescan censorhow ever
   they like,even in bad faith,raising seriousquestionswhethertheircensorship constitutesstate
   action.SeeSkinnerv.Ry.Lab.Execs.'Ass'n,489U.S.602,615(1989)(Gndingstateaction
   where the governm entidrem oved a11legalbarriers''to private com paniesdnzg-testing their
   employeesandçtmadeplain ...itsstrongpreferencefortestingn).Iftotalimmunityexiststhen,
   Section 230 would createKta suY ciently close nexusbetween''Congress and social-m edia
   platform s engaged in censorship to supporta flnding ofsu te action.Jackw n u M etro.Edison
   Co.,419U.S.345,351(1974).ThisanalysisispowerfullyreinforcedbythehistoryoftheFirst
   Am endm ent,forcensorship by nom inally private actorswith m onopoly poweroveran important
   form ofcom m unication wasthepreciseevilthatthe founding generation had in m ind when the
   FirstAmendmentwasratifed.SeeRossignolv.Voorhaar,316F.3d516,526-27(4thCir.2003)
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    like the Plaintifsto obtain reliefw hen they are the victim sofdeceptive tradepractices,

    fraudulentinducement,breachofcontract,unjustenrichment,falseadvertising,anddeceptive
    trade practices. The Amicibelieve thatthe Courtshould find thatthe Stop SocialM edia

    Censorship A ctisthe Eçcure-all''to the litany of com peting problem spresented in this ongoing

    controversyandthatthestate-law exemptionundersubsection(e)subparagraph (3)isthesaving
    grace,w hile advising thatifFlorida w antsto protectconsum erslike the PlaintiFs itshould enact

    the Stop SocialM edia Censorship Act.

           By perm itting theAm icito subm itthisbrief,perhapsallparties and thisH onorable Court

    w illbetterunderstand the com plex issues involved thatw illhelp a1linterested parties in the

    adjudicationoftheseproceeding,whilepenuittingtheCourttoreachthebestoutcomeinthe
    interestofjusticeinamannerthatdoesnotoffendtheruleof1aw orhurtthepublic'swelfare.
    The bottom -line isthateitherthisCourtneedsto acknow ledge thatFlorida needsto passa better

    law likethe Stop SocialM ediaCensorship Act,H B 33 in its am ended form ,orthe Courtneeds

    to rule Section 230 ofthe Comm unicationsD ecency A ctunconstitutionalforconstituting

    Congressionalaction thatviolatesthepetition and accessclause ofthe FirstA m endm entofthe

    U nited States Constitution.Those are the only two legally cognizable options.

    II. TIIE LEG ISLATW E H ISTOR Y AN D PR O CED UR AI,H ISTO RY O F OF TH E STO P
           SO CIA L M ED IA CEN SOR SH IP A CT.SB 7072.AN D RELEVAN T CASE S

           Hereisabreakdown oftherelevantlegislativeandproceduralhistory concerningthis

    case.In 2019,theAm iciconvinced Sen.Grutersto draftand introducethe Stop SocialM edia

    Censorship Act.I'
                    he billw asreintroduced atthe2020 legislative session by Sen.G rutersand

    R ep.Sabatini.4 In 2021,Rep. Sabatiniintroduced the Stop SocialM edia Censorship A ct

    (HB33),andsubsequently,forunknownreasons,Rep.Sabatinigotintosomekindofsquabble
           4See the pressconferencew ith Laura Loom er:
    h=ps://-    .facebook.com/watch/1ive/?v=907548599640066&ref=watch oermalink)
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   w ith SpeakerSprow ls,aspassions do tend to nln high in the legislative branch, unlike in the

   coolerjudicialone.Thisdust-upcausedthemembersoftheFloridaHousetoopposeRep.
   Sabatini'sbillssim ply because ofdswho hew as''and notbecause oftsthe m eritorious substance of

   hisbills.''Inthewakeofthe Sabatini/sprowlssquabble,GovernorDesantisgothisstafftouse

   the Stop SocialM edia Censorship Actasa prelim inary foundation to draftthem onstrosity that

   becam e SB 7072. SB 7072 w asundoubtedly perverted by am bitions and legalignorance issues

   athand. On M ay 24,2021,SB 7072 w as enacted and setto go into effectin early July. In early

   June,N etchoice and othersfiled a law suitto stop the state from enforcing the statm es. See

   Netchoice,LLC eta1.,v.Moodyet.al.4:21-cv-00220-RH-M AF (N.D.F.L2021).OnJune30,
   2021,thecourtinNetchoicegrantedtheplaintiffs'motionforpreliminaryinjunctiontoenjoin
   Floridastateom cialsfrom enforcingpartsofSB 7072.(DE 113).OnJuly7,2021,thePlaintiffs,
   here,filed the instantcase butdid notinclude a cause ofaction understate statute written to fall

   withinthestate-law exemption ofSection230.5 TheAmicinow requestleavetohavethisbrief

   docketed.TheAmiciwillimm ediately fileaseparatelawsuitoftheirownon thesam eexact

   issuesbefore the D istrictCourtin the Southern District,attacking this issue from diflkrentangles

   than the Plaintifs,nam ing theU .S.A ttorney Generalasthe defendant. H aving authored the


           5TheevidenceshowsthatPresidentTrump -alone-hastheleadership skillsto sortthis
   out. TheAm iciarecalling upon PresidentTrum p to lean on hisconnectionsw ith Governor
   Desantisto calla specialsession pursuantto Article 111,Section 3,ofthe Florida Constitution to
   enactthe Stop SocialM edia Censorship Actin its am ended form :seeAppendix B . The Am ici
   are then recomm ending thatthePlaintiffsam end theircom plaintto include a cause ofaction
   underthe Stop SocialM edia Censorship A ct. PresidentTrum p should rem ind Governorof
   Florida,Speaker Sprow ls,and Rep.SabatinioftheR eagan principlethatçdthere isno lim itto the
   am ountofgood you can do ifyou don'  tcare who getsthe credit.'' PresidentTrump should be
   advised thatifhe getsFlorida to calla specialsession and passthe Stop SocialM edia Censorship
   Act,thenhecanrestassuredthatvirtuallya11ofthestateswillpasstheStoy SocialMedia
   CensorshipActoutofthegateatthe2022 legislative session.(SeeAppendlxA).Even if
   PresidentTnzmp doesnottakethisrecom m ended course ofaction,theAmiciw illallbutensure
   thatcountlessstatesw illenactthe Stop SocialM edia Censorship Actatthe inception ofthe 2022
   legislative session.
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    Stop SocialM edia Censorship A ctforal150 states,theAm icihave a specialinterestin the

    outcom e ofthiscase.6TheAm iciàre w orking in over37 stateson this issue before the state

    legislatures.(SeeAppendixA).W hiletheAmiciappreciateFlorida'sinitiativeonthistopic,
    Floridacannotbeallowedtomuck itup fortherestofthenation.Nom atterwhat,theevidence

    showsthatthedaysofsocialmediatyranny aregoing to end.

      111. IDENTIFY IN G TH E BEST CO UR SE O FA CTION FO R TH E PLM NTIFFS TO
                                        TAK E




            6TheAm iciconsistsprim arily ofChrist-follow ers,w ho served in the United Sutes
    M ilitary in foreign theatersofw ar,nam ely on the rule of1aw m ission,which ispurposed to
    betterensureagovernm ent'scompliancew iththeirhighestConstimtionalauthority.TheAmici
    have continued thatm ission state-side in A m erica even though they no longerofticially
    operatingunderTitle10jurisdictiononbehalfoftheArmedForces.TheAmiciroutinely5le
    com prehensive law suitsacrossthe United Stateson diflkrentcontroversialand com plex issues
    thattypically concern theçtculturewars''andFirstAmendmentissuesthataretoo Gçpolitically
    hot''forthe governm ent-funded Attorneys Generalto pursue. ln bringing such law suits, the
    Am ici-w ithoutapology -often end up converting A rticle I1ICourtsinto theirown private
    legislative research com m ission.Outofthe overflow ofthe litigation ptlrsued by the Am ici,the
    Am icisubsequently draftlegislation fora1150 states and forthe federalgovernm ent,which is
    then routinely introduced by abi-partisan network ofsponsorsthatstretchesacrossthe Country
    before theA rticle Ibranch.The legislation authored by theAm icithatgetspresented to the
    membersoflegislativebranchislegallyvettedadnausem andiscalculatedtosurvivejudicial
    review,ifsubsequently challenged onceenacted.
            One ofthe tightsthattheAm icihave undertaken in m ultitudesofFederalD istrictCourts
    concernsBig Tech censorship,since thisfghthas created a freedom crisisthatiseroding the
    quality oflifeform illionsofA m ericans. Subsequently,theAm iciauthored aproposed bill
    called the 'sstop SocialM edia Censorship A ct''thatiscustom ized foral150 statesand is
    narrow ly tailored to parallelthe spiritofSection 230 ofthe CDA so thatitfallssquarely in the
    state-law exemptionundersubsection(e)subparagraph(3)oftheSection230-therebygetting
    around theproblem ofpreem ption.Here is aw ebsite forthe bill:
           htps://-    .specialforcesoiibeo .com/.Hereisashol'tvideothattheAmiciprovideto
    state legislam resw ho prim e sponsor,co-sponsor,orsupportthe billso thatthey can easily
    understandthebillandtheissuesinvolved:@tps'
                                              .//youO.be/CCcOAL> teM).
            Over25 statesm oved on two prim ary billsw ritten to stop the on-going problem ofsooial
    m edia censorship thatw ere drafted by eitherD e Facto A ttorneys GeneralorProfessor
    H am burgerofColum bia Law school. CountlessRepublicansand D em ocratsprim e sponsored,
    co-sponsored,orsupported these legislative m easures.Fora breakdown by state and by prim e
    sponsorforthe2021lejislativesessionandthe2022legislativesessionoftheproposedlanguage
    ofthebills seeAppendlx A .
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           PresidentTrum p likesto w in.So do theAm ici. lfPlaintifrsw àntto prevailin thislegal        4
                                                                                                        I )6
                                                                                                        11.rI1 1...:

    fght,notjustmakingapoliticalstatement,theyshouldtakethefollowingsteps:
           (1)seekleavetotemporarilyholdtheseproceedingsinabeyanceordelayservingprocess
    on the D efendantspursuantto FRCP 4;

           (2)PresidentTrumpshouldusehispersonalconneotionstopressGovernorDesantisto
    im m ediately hold a specialsession pursuantto A rticle 111,Section 3,7oftheFlorida Constim tion,

    topasstheamendedversionof11833,8theSdstop SocialM ediaCensorshipAct''(anarrowly
    tailored state bi-partisan statute thatparallelsthe spiritofSection 230 and w as intentionally

    createdtofallinthestate-law exemptionundersubjection(e)subparagraph(3)ofSection230,
    thatover25 statesintroduced thispastsession,and thatdoesnotsufferfrom the sam e overt

    problemspresentedbySenateBill7072))
           (3)aftertheStop SocialM ediaCensorshipActisenacted,thePlaintiffsshouldthen
    reopen thiscase,am end theiroriginalcom plaintpursuantto FRCP 15 et.seq,as a m atterof

    course,to include a causeofaction underthe Stop SocialM edia Censorship A ct, which w illnot

    bepreem pted underthe doctrine ofpreem ption,cutting through any Section 230 im m unity

    defense -thereby having thepotentialto solvethisongoing bi-partisan problem forthe w hole of

    theNation,accomplishingthePlaintifrsparamountobjective;9
           7In view ofthe recentdecision in N etchoice,LLC etal.,v.M oody et.al.
    4:21-cv-00220-RH-M AF (N.D.F.L 2021),GovernorDesantishasadutypursuanttohisoathof
    office undertaken pursuantto clause 3 ofArticle V 1oftheU nited States Constitution to calla
    specialsession underArticle 111,Section 3 ofthe Florida Constitution to enactthe Stop Social
    M edia Censorship Actto cure the Constitutionaldefects presented in 587072.
            8htps://- .dropbox.com/s+65u> s2n(48V2022%20F1orida%20Stop%20Socia1%20
    M edia% 20Censorship% 20A ct% 20A > N DED .pdO d1=0
            9IfthePlaintiffsundertake thissuggested course ofaction -getting Floridato enactthe
    Stop SocialM edia Censorship A ctandthen am ending the com plaintto include a cause of action
    underthatstatute-thenthisCourtwouldretainjurisdictionovertheseproceedingsunder
    diversityquestionjurisdictionbecausethepartiesarediverseandtheamountincontroversyis
    morethan $75,000.28U.S.Code j 1332.Fraud,falseadvertising,breachofcontract,bad faith,
    unfairdealing are notprotected foz'
                                      m sofspeech forpurposesofthe FirstA m endm ent,and the
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           (4)thePlaintifrsshouldalsoamendtheiroriginalcomplainttoincludeacauseofaction
    forfalseadvertisingundertheLanham Act,15U.S.C.jj1051etseq,whichisnotpreemption
    bysection230andwhichwillconferFederalQuestionjurisdictiononthisCourt;
           (5) IfGovemorDesantis'refusestocallaspecialsessionunderArticle111,Section3,to
    enactthe Stop SocialM edia Censorship A ctforw hatever reason,thc Plaintifsshould am end

    theircomplaintandincludeacauseofactionunderj501.2041(6)10whichmaystillbealiveand
    foundtofallinthestate-law exelhptionunder47U.S.C.j230(e)(3)bythisCourt;
           (6)'I'
                hePlaintifrsshouldamendtheircomplaintandfsleacauseofactionunderFlorida's
    existing deceptive tradepractice law,which the Courtm ightalso fallin the state-law exem ption

    undersection 230.

                                     V I. AR G UM ENT
               A . W hatIsThe BestSolution To ThisO neoine Bi-nartisan Problem ?

    state ofFlorida hasa narrow ly tailored com pelling public interestto deterthoseform s ofharm ful
    unprotected speech to protectconsum ersfrom thekinds ofabusesthatthe Plaintifshave
    experienced.Butbecause theD octrine ofpreem ption underthe Suprem acy Clause ofthe United
    StatesConstimtion mightallow theDefendantstocurrently invokeblanketimmunity under
    Section 230 -a federal1aw -thePlaintifsneed a sure fire way around thisim m unity defense.
    Fortunately,CongressalreadybuiltintoSection230exemgtionswhereSection230immunity
    defensecouldnotbesuccessfully invokedby internetprovlders.IftheStateofFloridawould
    enacttheStopSocialMediaCensorshiyAct-unmolestedbypettypoliticsandself-interests-
    thenthePlaintiFswillprevailheie,taklngamassivestep towardscombatingtheepidemicof
    censorship thathascultivated athreatto election integrityand alitany offundam entalfreedom s
    thatunderm ine ourcitizensrightlto pursue life, liberty,and hapiness.
            10FRCP 8(e)(2)allowsforaplaintiffstopleadinconsistentandaltemativeclaims.-sothe
    PlaintiFscouldasktheCourttoeither(1)1etthem enforceSec.501.2041(6)orto(2)render
    Section 230 unconstim tionalin view ofJudgeH inkle'sdecision in Netchoice,LLC etal.,u
    Moodyet.al.4:21cv220-R1- 1-M U (N.D.F.L2021).Sec.501.204146),partofSB 7072,createsa
    privaterightofaction:anyGGuser''maysueifshe(1)believesmoderationstandardswerenot
    appliedçtinaconsistentmanner''or(2)didnotreceivetherequirednoticefollowinga
    moderation action.Courtsmay award upto $100,000in statutory dam agesperviolation,plus
    actualandpotentiallypunitivedàmages.Id.WhileJudgeHinklegrantedapreliminaryinjuction
    againstFlorida state actorsin N etchoice,LLC etal.,v.M oody et.al.4:21cv220-R11-M M
    (N.D.F.L2021)whenitcomestoenforcingSB 7072,thisdoesnotnecessarilymeanthatthe
    injunctionextendstoprivatecitizenslikethePlaintiflk.n erefore,thePlaintifscouldincludea
    causeofactionunderSec.501.204146).ButthereisnodoubtthattheStopSocialMedia
    Censorship A ctisa vastly superior 1aw for ahostofreasonsdiscussed throughoutthisbrief.
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           Theultimatequestionpresentediswhatisthebestsolutiontotheongoingbi-partisan
    problem ofsocialmediacensorship? Isit(a)&GanexecutiveorderbythePresident?''or(b)<d
                                                                                     to
    havethejudicialbranchdecreethatsocialmediawebsitesarequasi-stateactorsforpurposesof
    theFirstAmendment?''or (c)tçthestrikingdownSection230byjudcialactionorthetotalrepeal
    ofSection230byCongressionalresponsivenessT';or(d)$%odonothing,allowingthestatusquo
    ofabusetocontinueintotaldisregardofthePetitionandAccessClause?''or(e) Gtoallowing
    censoredlitigantstosuccessfully bring acauseofactionpursuanttoa sotmd narrowly tailorstate

    statutethatwillallow injuredconsumerstopunishsocialmediawebsitesforhavingengagedin
    self-evidentunprotectedharmfulformsofspeechandpracticestoinclude:(1)breachofcontract,
    (2)falseadvertising,(3)deceptivetradepractices,(4)badfaith,(5)unfairdealing,(6)unjust
    enrichment,and(7)fraudulentinducement?''Thebestsolutiontothisproblem isunequivocally
    theisfthoption-option (e).Thisisbecausealreadybuiltintosection230istheftstate-law
    exemption''undersubsection(e)subparagraph(3).11Putsimply,thisCourtshouldultimately
    indicatethatFlùridam adeamistakein enacting SB 7072,when itshouldhaveenacted the

    am ended version of10 33.12IfthisCourtdoesnotm akethatfinding, then som e logically

            11W hen Congresspassed section 230 they included exception provisions forwhen a
    section 230immunitydefensecouldnotbesuccessfully invokedby an internetintermediary,like
    theDefendants,undersubsection(3).W hilethePlaintiffsfiledafederalquestionlawsuitthat
    asksthe Courttoholdthattlw Defendants'conductandthevalidity ofSec'         tion 230,inview of
    the FirstAm endm entofthe United StatesConstitution,the PlaintiFsw ould dram atically
    increasetheirchancesofsuccessifthey w ould am end theircomplaintto include atleastone
    cause ofaction undera state statute thatw ould fallin the state-law exem ption.
           12PresidentTrumpshould(1)holdtheseproceedingsinabeyance;(2)pressGovernor
    D esantisto hold a specialsession to passthe am ended version of11833 by Rep.Sabatiniand
    Sen.Grutersreferred to asthe EEstop SocialM ediaCensorshipAct''
    (hûps://- .dropbox.com/s+65u> s2nf148F2022%20Florida%20Stop%20Social%20M edia%
    20Censorshio%20Act%20AMENDED.DdOd1=0)(3)amendtheoriginalcomplainttoinclude
    thisnew cause ofaction to include a cause ofaction broughtunderthe Stop SocialM edia
    CensorshipAct.Floridapassedj106.072,j287.137,and j501.2041thissession-three
    statutesthatw ere initially based on the Stop SocialM edia Censorship A ctuntilpolitical
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    consistentFederalcourtin one oftheother11Circuitslikelywill,permitting Section 230 to be

    stnzck down com pletely in view ofthe Netchoice decision.Thisw illstarta causalchain thatw ill

    cultivate additionalproblem sthqtare diferentbutperhapsnotquite asbad asallow ing social

    m edia w ebsitesto operate undertotalim m unity.

           B. H ow D id W e GetH ere -U nderstanding The C urrentLandscape And The M isuse
                                         O fSection 230

           n e evidence showsthatthe decision in Stratton Oakm ont,Inc.v.Prodiu Services Co.,

    1995W L 323710,at*3-4 (N.Y.Sup.Ct.May24,1995)inpart1edtothecreationofSection
    230.13 TheAm ici, unlike the Plaintiffs,contend thatthere are valid usesofSection 230 that

    should rem ain in p1ace.14H ow ever,whathas been happening to the Plaintifs, theAm ici,and

    am bition corrupted the process,causing the three statutescreated by 58 7072 forfailing to
    survive heightened scrutiny.
          13InStrattonOakmont,Inc.MProdiv ServicesCo.,1995W L 323710,at*3-4@ .Y Sup.
    Ct.M ay24,1995),ananonymoususerpostedallegedlydefamatorycontentonanelectronic
    bulletinboard- anearlierversion ofwhattodaym ightbe called socialmedia.n ecourtsaidthat
    iftheproviderofsuch abulletin board didnotundertaketoreview postedcontent- much asa
    librarian doesnotundertaketo review a1lthe booksin a library- theproviderwould notbe
    deemed thepublisherofadefamatorypost,absentsum cientactualknowledgeofthedefamatory
    natureofthecontentatissue.On thefactsofthatcase,though,theproviderundertook to screen
    theposted content- to m aintain a GGfam ily-orientedi'site. '
                                                                I'
                                                                 hecourtheldthissubjectedthe
    providerto liability asapublisherofthecontent.Atleastpartly inresponseto thatdecision,
    which w asdeem ed a threatto developm entofthe internet,Congressenacted 47 U .S.C.j230.
    TheStop SocialM ediaCensorshipActdoesnotsubjectcomputerservicestotortliabilityfor
    passivelyhostingcontentpostedl
                                 byothersbutseekstoempowerusersbylimitinghow content
    maybecensored.See47U.S.C.j230(b)(2)(describingcongressionalpurposetoensurethat
    usersretainGçagreatdegreeofcontrolovertheinformationthattheyreceive'')
           14Prelim inarily,Section 230should beexplained sothatatifth-gradercan understand it.
    Basically,Section 230 wasa federalstatutecreated by Congress,notTw itter, in 1996 thatw as
    partoftheCommunicationsDecencyAct(CDA).The CommunicationsSoecency''Actwas
    designedtopromotetçdecent''speech,nottheGçdeceptivetradepractices''thattheDefendants
    haveengagedincausingthedirectinjuryofthePlaintilsandtheAmici.Section230allowsfor
    certain intem etinterm ediariesto'invoke an im m unity defense forthe harm fulactsofthird
    parties,ifand only itltheinternetintermediary wasnotacting asapublisher/speaker/common
    carrierto a certain arbikary and hard to determ ine degree.So,since thatexplanation isstill
    confusing and since trying to detçrm ine w hethera platform providerw as a speaker, publisher, or
    com m on carriertendsto be a linguisticnightm are,the bestw ay foranyone to understand avalid
    Section 230 im munity defense isthrough the follow ing exam ple:GGlfa Floridian m aliciously
    postsa defam atory com m enton Tw itteragainsta person from N ew York,theN ew Yorkerwho
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    m illionsofAm ericans,w ho are b0th registexed Dem ocratand Republican,isthatsocialm edia
                                                                                                       I
                                                                                                       l1i1'2
                                                                                                            1-
                                                                                                             ,
                                                                                                             u
    w ebsiteshave been arbitrarily censoring thçirspeech w hen itoFendsthe delicate sensibilities of

    the em ployeeswho happen to w ork atthe socialm edia website atthattim e.W hen censored

    individuals5lealawsuitagainstthesocialmediawebsiteforsuchinjuriouswrongdoing,the
    socialm edia defendantsinvariably m ake the sam e questionable argum entthatthey w ere Km erely

    engaging in generaleditorializing and should notbe held liable in view ofthe Section 230

    im m tm ity shield.'' So farin such cases,the courtshavereluctantly allow ed the socialm edia

    defendantstobarelyescapeliability,likeamanjumpingthroughthmes.See1Corinthians3:15.
    In rendering such decisions,the courtshave been hinting thatifthe state legislam re wasto enact

    astatutethatwas(1)narrowlytailored,(2)consistentwiththespiritofSection230,and(3)
    intentionally designed to fallin the state-law exem ption,then such a cause ofaction w ould

    successfully piercethrough a Section 230 im m unity defense.The Stop SocialM edia Censorship

    Act-astatestatute-istheanswerthateverm neislooking forwhethertheyrealizeitornot.15

        C. The Stop SocialM edia C ensorshin A ctIsThe Cure-allIn View O fThe SiEnillcant
                 State-law Exem ption A lreadv B uiltInto Section 230 Bv Coneress

           There isno need to throw the baby outw ith the bathw aterin doing aw ay with Section

    230 in view ofthe state-law exemption and the potentialpassing ofthe Stop SocialM edia

    CensorshipAct.47U.S.C.j230(e)(3).Againtoreiterate,thisCourtmusteitherdeclarethat
    was defam ed could legitim ately suethe Floridian fordefam ation.H ow ever,iftheN ew Yorker
    nnm ed Tw itterasa co-defendantin the law suit,then Youm be could successfully tsle a m otion to
    dism issunderFRCP 12 et.seq.invoking Section 230 im m unity defense asthe legalbasis,and
    legitimatelyhavethelawsuitdismissedwithprejudiceagainstit''
            Thatexam ple involvesa good use of Section 230 -show ing thatSection 230 is good law
    -because Youm be w asm erely acting asan innocentplatform in thatscenario.Therefore,the
    Plaintifsdem and thatthe Courtcompletely skike dow n Section 230 ofthe Comm unications
    DecencyActshould notbegranted onthecondition thatthe CourtfindsthattheSocialM edia
    CensorshipActwouldsurvivejudicialreview ifenacted.
           15A billisjustwordsonapieçeofpaper,andby enactingtheStop SocialMedia
    Censorship Act,itw illnotnecessarily help the Amiciw hen itcom esto creditand glory,butit
    w illhelp theN ation,and helping the N ation tlourish isthe param ountm ission oftheAm ici.
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    Florida should havepassed H R 33 over SB 7072 orrenderSection 230 tmconstim tionalunder

    thepetition and accessclause oftheFirstAm endm entl6A ny choice beyond thatw ould be

    intellectually dishonest.I'
                              he Stop SocialM edia Censorship A ctisthe escapehatch,built-in by

    Congressinthestatuteitself.TheEEstate-law exemption''istheonlyprovision ofSection 230

    thatspeaksdkectly to therelatiohshipbetween thisfederalstatuteand statelaw expresjly

    preservesthestates'authoritytoKtenforclejany State1aw thatisconsistentwiththissection.''47
    U.S.C.j230(e)(3).Infact,thewordingofthisprovision whichisexpresslytiedtoparticular
    actionsççenforcing''actslike the Stop SocialM edia Censorship A ctfz--disfavorspreem ption

    challenges in a pre-enforcem entposture. ln conform ity w ith thatprovision and tlw

    w ell-established presum ption againstpreem ption,thisCourtshould construe the restofSection

    230 narrow ly and in a m annerthatallow sfederaland state law in thisareato coexist.In doing

    so,thisCourtshould fsnd thatthe Stop SocialM edia Censorship A ct,ifenacted,would neatly

    fallwithinthe state-law exemptiön and thatifFloridawantstoprotectconsum erslikethe

    Plaintifrs,then itshould enactthe Stop SocialM edia Censorship A ctsoonerratherthan later.

           lf,however,theStopSocialV ediaCensorshipwasfotmdtobeunconstitmionalor
    preemptedby Section 230,aswasseeming thecasewith 587072,then a seriousFirst

    AmendmentchallengetoSection230wouldexistunderC/ Agencyfor1nt1Dev.v.All.forOpen
    Soc1yInt'l,Inc.,570U.S.205,214 (2013) (discussingwhenconditionsonfederalfunding

           16In creating thisççbroad federalim m unity''in passing section 230, Almeida u
    Amazon.com,lnc.,456F.3d1316,1321(11th Cir.2016),Congressgavestatutoryform tothe
    coreFirstAmendmentrighttoeditorialjudgment.SeeGoogle,Inc.v.Hood,822F.3d212,220
    (5th Cir.2016),butCongresscannothavelegithnatelydonethatbytotallyblockingaccessto
    petition againstobvious grievancesw ithoutviolating theFirstA m endm ent.W hileFederallaw
    preem pts sàte tm derthe Suprem acy Clause,theFirstA m endm entofthe United States
    Constitution preem pts and outranksFederallaw s,like Section 230,thatviolate thepetition and
    accessclause.TheAmicibelievethatthestate-law exemptionprovidestheonly way around this
    dilemma.TheStopSocialM ediaCensorshipActisnotjustthebestsolutiontothisproblem,itis
    the only solution to stop Section 230 from being com pletely struck dow n.
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    tçresultin anunconstitutionalburdenonFirstAmendmentrights'').Accordingly,thecourts
    shouldnotlightly concludethatCongressmadea law thatnotonly allowsunbridled censorship,

    butalso preventsstatesfrom doing anything aboutit.The Stateshave an ongoing com pelling

    interestto protecttheircitizensin step w ith theirpolice pow ersunderthe Tenth Am endm entof

    theUnited StatesConstitution from fraud,deceptivetradepractices,breach,bad faith,etc-none

    ofwhich isprotected speech forpurposes ofthe FirstA m endm ent.

     D.Com parineTheDifferencesBqtween HB 33.theStop SqcialM edia Censorship Act&
                                                SB 7072

           NeversincetheinceptionofAmericanjmisprudencehasaplaintifbroughtalawsuit
    under a state statute and argued thatthe Section 230 im m unity defense could notbe successfully

    invoked becausethe law suitw asfiled tm dera stam tethatfellw ithin the state-law exem ption,

    piercing throughtheSection230 immunity defense.Yet,whencomparing theStop SocialM edia

    Censorship A ctto SB 7072,the Am icisom ewhatagree w ith Judge Hinkle'ssentim entthatthe

    SistatutesEcreatedby587072)arenotnarrowlytailored''andmightconstituteandtinstanceof
    burning the houseto roasta pig.'' See Netchoice,LLC etal.,v. M oody et.al.

    4:21cv220-RH-M AF (N.D.F.L 2021)(page27ofDE 113). Seealso,e.g.,RenoMAmerican
    CivilLibertiesUnion,521U.S.844,882(1997,
                                           );SableCommc'nofcal.,lnc.v.FCC,492U.S.
    115,131(1989).ItwouldbemoreaccuratetosaythatstrikingdownSection230oftheCDA
    completely asthePlaintiffs'requestwouldbean GGinstanceofburningthehouseto roastapig''

    whentheStop SocialMediaCensorshipXctisobviouslythecure-allfrom theperspectiveofany
    reasonable observerto thisongoing dilem m a because itfallssquarely in the state-law exem ption.

           There are severaldiflkrencesbetween the Stop SocialM edia Censorship Actand SB

    7072 thatshould be identi/ed. First,587072 isvague and the Stop SocialM edia Censorship
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    Actisnot.17 1dA fundam entalprinciple in ourlegalsystem isthatlaw swhich regulate personsor

    entitiesm ustgive fairnotice ofconductthatis forbidden orrequired.''FCC u Fox Tvstations,

    Inc.,567U.S.239,253(2012).T'
                               heStopSocialMediaCensorshipActisnotvaguewhatsoever
    in view ofitsten legislative fndings,the purpose section,and the straightfol-ward structure ofthe

    language.ThelegislativefindingsoftheStop SocialM ediaCensorshipActspelloutthe

    legislative intentin a comm on sense m arm enl'Furtherm ore,thepurpose and legalfram ew ork of



          17ç1(A)nenactmentisvoidforvaguenessifitsprohibitionsarenotclearlydefined.''
    Graynedv.CityofRockford,408U.S.104,108(1972).Topassmuster,lawsmustttgivethe
    person ofordinary intelligence a reasonable opportunity to know w hatisprohibited''and prevent
    ldarbitraryanddiscriminatoryenforcement''bydsprovidling)explicitstandardsforthosewho
    applythem.''Id.;accord Wollschlaegerv.Governor,848F.3d 1293,1320(11thCir.2017).
    A lthough greaterclarity isnecessary w hen a stam te regulates expression,(dperfectclarity and
    precise guidance have neverbeen required even ofregulationsthatrestrictexpressive activity,''
    Wardv.RockAgainstRacism,491U.S.781,794(1989);seealsoGrayned,408U.S.at110
    (ççcondemnedtotheuseofwords,wecanneverexpectmathematicalcertaintyfrom our
    language.'').Furthermore,ttthemerefactthatclosecasescanbeenvisioned''doesnottlrenderl)a
    statutevague.''Unitedstatesv.M lliams,553U.S.285,305(2008).
            18 The legislative sndingsofthe Stop SocialM edia Censorship A ctare asfollow s:
            W HEREA S,the Com m unicationsD ecency Actw ascreated to protectdecentspeech,not
    deceptivetrade practices,and
                  REA S,repealing section 230 ofthe Com m unicationsD ecency A ctatthe federal
    levelisunnecessary because italready includes a state-law exem ption and the Stop SocialM edia
    CensorshipActwascraûedtofallsquarely inthe state-law exemption ofsection230 to cure
    abusesofsection 230 to protectthe consum ersofthis state,and
            W HEREA S,contractlaw is a state-law issue,and w hen a citizen ofthisstate signsup to
    use certain socialm edia w ebsites,they are entering into a contract,and
            W H EREA S,this state hasa compelling interestin holding certain socialm edia websites
    to higherstandardsforhaving substantially created adigitalpublic squarethrough fraud,false
    advertising,and deceptive trade practices,and
           W HEREAS,majorsocialmediawebsiteshaveengagedinthegreatestbaitandswitchof
    a11tim esby m arketing them selvesasfree,fair,and open to a11ideasto induce subscribersonly to
    then prove othelw ise atgreatexpenseto consum ersand election integrity, and
            W HEREA S,breach ofcontract,false advertising,bad faith,unfairdealing,fraudulent
    inducem ont,and deceptive trade pradicesare notprotected form sofspeech forpurpose ofthe
    Grstam endm entofthe United StatesConstitm ion orthe Constitution ofthisstate, and
           WHEREAS,themajorsocialmediawebsiteshavealreadyreachedcriticalmass,andthey
    did itthrough fraud,false advertising,and deceptive trade practices atgreatexpense to the
    health,safety,and welfare ofconsum ersofthisstate,while m aking itdiffcultforothersto
    com petew ith them ,and
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    the Stop SocialM edia Censorship Actiscrystaloltar,w hereasthe purpose of587072 isnot.

    The purpose section ofthe Stop SocialM edia Censorship A ctstates:

              Thissection is intended to create a statute thatparallelsthe spiritof47 U .S.C.j230that
              fallswithinthestate1aw exemptionunder47U.S.C.5230(e)(3)andcreateacivilright
              ofactionthatwilldeterthefollowing:(1) Deceptivetradepractices;(2) False
              advedising;(3) Breachofcontract;(4) Badfaith;(5)Unfairdealing;(6) Fraudulent
              inducement;andt7)Thestiflingofpoliticalandreligiousspeechinthemodern-day
              digitalpublic squarecultivatedby socialm ediawebsitesthathaveachieved criticalm ass
              through fraud.

    Thepum ose ofthe Stop SocialM edia Censoxship A ct isto parallelthe goalsand spiritofSection

    230 so thatthe state statute threadsthe needle and unquestionably fallsw ithin the state-law

    exem ption ofSection 230 in a w ay that587072 failsto do so.

              Second,unlikew ith SB7072,the language ofthe Stop SocialM edia Censorship Actand

    Section 230 are paralleland identicalin som erespects. Forexample,47 U .S.C.j230(c)(2)(A)

    statesthatan interactive com puterservice,like the D efendants,cannotbe Slheld liable''on

    acoountofdlany action voluntarily taken in good faith to restrictaccessto oravailability of

    materialthattheprovideroruserconsiderstobeobscene,lewd,lascivious,filthy, excessively

    violent,harassing,orotherwiseobjectionable,whetherornotsuchmaterialisconstitutionally
    protected.'' Sim ilarly,the Stop SocialM edia Censorship A ctsutesthatsocialm edia w ebsites

    thataresubjecttotheactcannotbeheldliableiftheycensorcontentthat:
              1.Callsforim m ediate actsofviolence;2.lsobscene,lew d,lascivious,filthy or
              pornographic in nature;3. Isthe resultofoperationalerror;4. Istheresultofa court
              order;5. Com esfrom an inauthentic sourceorinvolvesfalse personation;6. Entices

              WHEREAS,thestatehasaninterestinhelpingitscitizensenjoytheirfreeexerciserights
    in certain sem i-public forum s com m only used forreligiousand politicalspeech,regardless of
    which politicalparty orreligious organization they ascribeto,and
            W H EREA S,thisstatq is generally opposed to online censorship unlessthe contentis
    injurioustochildrenorpromoteshumantrax cking;onlythendoesthisstateacceptlimited
    censorship,and
           W H EREA S,thisactisnotintended to apply to a w ebsite thatm erely deletes com m ents
    posted by m em bers ofthe generalpublic in responseto m aterialpublished by thew ebsite's
    OW ner,
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           crim inalconduct;7. Involvesm inorsbullying m inors;8. Constitutestradem ark or
           copyrightinfringem ent;9.Isexcessively violent;and 10. Constitutesharassing spam of
           the comm ercial,notreligious orpolitical,nature.

    Becausethe Stop SocialM edia Censorship Actneatly parallelsthe spiritand intentofSection

    230,threading the needle in a w ay thatSB 7072 doesnot.From every angle,itisclearthatthe

    Stop SocialM ediaCensorshipActhasbeen crafted foral150statesin am annerthatrespects

    federallaw,while allowing the siate'sconsumerstobeprotected from deceptivetradepractices.

           Third.by fram ing the issuesasbreach ofcontract,bad faith,false advertising,unfair

    dealing,unjustenrichment,deceptivetradepractices,andconsumerprotectionviolations,the
    Stop SocialM edia Censorship A ctfulfillsa litany ofcom pelling governm entinterests in w ays

    that587072failstodoso.TheStop SocialM ediaCensorshipActGspromotegsqthewidespread
    dissem ination ofinform ation from a multiplicity ofsources,''an interestthatthe Suprem e Court

    in Turner had Eçno difficulty concluding''w as Ran importantgovernm entalinterest''Turner

    fmcz Sys.,Inc.v.FCC ('6Turner'),512U.S.622,662.-63(1994).EnsuringthatthepublicRhas
    accessto a m ultiplicity ofinform ation sources,''the Suprem e Courtexplained,ççisa

    governm entalpurpose ofthehighestorder,foritprom otesvaluescentralto the First

    A m endm ent''1é at663.Furtherm ore,Florida has a substantialinterestin protecting itsresidents

    from unfairordeceptiveactsorpracticesincommerce.SeeFLA.STAT.j501.204;Ohraliku
    OhioStateBarAss'n,436U.S.447,460(1978);CrellinTechs.,Inc.uEqui
                                                                 pmentleaseCorp.,18
    F.3d1,12(1stClr.1994).Additionally,Floridaalsohasacompellinginterestinpreservingthe
    democraticprocessandensuringfairelections.Burroughsu Unitedstates,290U.S.534(1934);
    Curryv.Baker,802F.2d 1302,1317(11thCir.1986).
           Fourth.by fram ing the issue àsarising underbreach ofcontract,bad faith,fraudulent

    inducementfalseadvertising,unjustenrichmentprinciples,asocialmediawebsitesuedunder
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    the Stop SocialM edia Censorship Actcould notassertGtgood faith''protectionsunderSection

    230(c)(2)(A).19JudgeHinkleseemedincapableoforunwillingtopickup onthiscriticalfactorin
    N etchoice,LLC etal.,v.M oody et.al.4:21cv220-1111-M M 7(N.
                                                             .D.F.L2021).
            Fifth,w here 587072 construessocialm edia w ebsitesas com m on carriers,zothe Stop

    SocialM edia Censorship Actfocusesm ore on consum erprotection violations, existing torts,and

    existing breach ofcontractprinciples.The Stop SocialM edia Censorship treats socialm edia

    websiteslQeany entity doingbusinessinthestate,andpreventsthebusinessfrom harming

    consum ersforengaging infraud,breach,decetivepractices,falseadvertising, etc. W hile the

    FloridaLegislaturepermissibly determ inedthatthetGold rules''applicabletocomm on carriers

    should be applied to the ttnew circum stances''ofsocialm edia in 587072, the Stop SocialM edia

    Censorship A ctm erely gets existing consum erprotection law sand contract1aw principlesto

    apply to the Eçnew circum stances''ofsocialm edia,while invoking the state-law exem ption

           19Section230(c)(2)(A)doesnotprovideblanketimmunity.Itonlyapplieswhenan
    interactive com puterservice actsin Ktgood faith.''W hile the param etersofççgood faith''im m unity
    underSection230(c)(2)(A)arenotnecessarilywell-deûnedinthecaselaw,courtsmight
    ultim ately conclude thata socialm ediaplatform 'sacting diFerently than how itm arked itself
    andshiRing itsstandardsisdeterminativeasto whethertheplatform acted in çigoodfaith-''See
    Smith u Trusted UniversalStandards in Elec.Transactions,Jpr.,2010 W L 1799456,at*7
                                                                 .


    (D.
      N .J.M ay4,2020). lnNetchoice,LLC etal.,MM oodyet.al.4:21cv220-R11-M M 7(N.D.F.L
    2021),thecourtstatedinitsordergrantingapreliminaryinjunctionthatGGthelegislationcompels
    providersto hostspeechthatviolatestheirstandards- speech they otherwisewouldnot
    host- and forbidsprovidersfrom speaking asthey otherwisewould.''Butthatcourtfailsto
    realize thatthe socialm edia website providersshiftthose standardsin bad faith in an arbikary
    anddishonestmarmerintotalbreachofhow theymarkedthemselvestothepublictoinduce
    reliance.Thatcourtalso failsto realize thatthe providers invited,enticed,and induced m em bers
    ofthe public to speak outopenly and freely on diFerentreligious and politicaldoctrinesw ithout
    any threatofem otionaloreconom ic reprisal,only to then turn around and deploy a Slgotcha
    gnm e''w ith the expectation oftotalim m unity.
            20In Section 1 of 58 7072, theFloridaLegislaturefound thatSsgslocialmediaplatforms
    havebecomeasimportantforconveyjngpublicopinionaspublicutilitiesareforsupgorting
    m odern societyy''and they Gçhold aunlque place in preserving firstam endm entprotectlonsfora1l
    Floridiansandshouldbetreatedsimilarlytocommoncaniers.''SB 7072 5145),1(6).Infact,as
    JusticeThomasrecentlyexplained,çGkilnmanyways,digitalplatlbrmsthatholdthemselvesout
    to the public resem ble traditionalcom m on carriers.''Biden v.KnightFirstAmend. Inst,141 S.
    Ct.1220,1224(2021)(Thomas,J.,conèurring)
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    directly.SeeParkauAltaCal.Tel.Co.,13Cal.422,422(1859).Putsimply,theStop Social
    M ediaCensorshipActdoesnotaskthejudicialbranchtoreinventthewheel;itmerelyasksthat
    existing law be perm itled to catch up to m odetw day technology to safeguard consum ers and

    election integrity in am annerthataccordswiththepolicingpowersofthe State.

           Sixth,becausethe Stop SocialM ediaCensorshipActisframed on breach ofcontract,

    tort,andconsumerprotectionprinciples,jurisdictionforenactmentandenforcementisnot
    Constitutionally probem atic in view ofthe Ten A m endm ent ofthe United Sttes Constitution,

    unlike w ith SB 7072.21

           Seventh.perhapsthe biggestdistinction between the Stop SocialM edia Censorship Act

    and 587072 isthatthe Stop SocialM edia Censorship only appliesto socialm ediaw ebsitesthat

    have m orethan 75 m illion profile usersthatw ere neveraY liated w ith any particularreligiousor

    politicalparty from theirinception.zzA socialm ediaw ebsite thatw asax liated w ith a religious

           21ThestateofFloridahasthelegalauthority to enactthe Stop SocialM ediaCensorship
    andinjuredparties,likethePlaintiflk,havetherighttoenforceitunderthelong-arm stattlte.See
    Fla.Stat.j48.193.W henthePlaintiffssigneduptouseFacebookandTwitter,theyenteredinto
    acontractinFlorida.Oneoftheoldestjurisprudenceisthatiscontractlaw''isa(çstate-law issue.''
    Stateshaveparamountjurisdictiontoenactstatutesthatplacecertainrestrictionsoncontractsto
    protectconsum ersfrom harm .Otherwise,allconsum erprotection law sand al1productsliability
    law scould be declared to violatetheFirstAm endm ent.Tw itterreached into the state ofFlorida
    and induced the Plaintiffsto sign up to use theirservicesby acontract, w hich givesthe state of
    Floridajurisdictiontoregulatethosecontracts.W hileitisanundisputedfactthatacontractdoes
    existbetweentheDefendantsand thePlaintifs,thecontractisonly relevantforthepurposeof
    thestatehavingjurisdictiontoregulatethosecontractsbecausethecontractatissueis
    undoubtedlyacontractofadhesion.TwitterandFacebook havebillionsofsubscribers, they
    neverhad a realistio expectation thatthe Plaintifrsw ould em ploy law yersto review their
    contract. Therefore,the contractisa contractofadhesion. A ccordingly, the specific term sof
    the adhesion contractdo notm atter.Schnabelv.TrilegiantCorp ., 697F.3d110,119,126-27(2d
    Cir.2012).However,whatdoesmatteristhefactthatTwitter,Facebook,andYoutubehave
    conspired to falsely m arketthem selvesasbeing ttfree,fair,open to the public,and open to a11
    religiousand politicalideas''to induce reliance only to then break theirprom ise and censor
    certain users in bad faith. This isa problem ofbroken prom ises and lying outofthe overtlow of
    m oralsuperiority com plexes.
            22The reason why the Stop SocialM edia Censorship A ctonly appliesto socialm edia
    w ebsitesthathave m ore than 75 m illion usersisnotto treatdiflkrentpotentialspeakers
    differently. The reason forthisthreshold is because the purpose ofSection 230 w asto allow
Case 1:21-cv-22441-RNS Document 17 Entered on FLSD Docket 07/19/2021 Page 23 of 39




    orpoliticalparty can,therefore,continue to censorusersatw i11.23Iffrom theirinception

    Facebook,Tw itter,orYoutube had m arked them selves asbeing aligned w ith theD em ocratParty

    orw ith the licentiousreligion ofsecularhum anism ,then they would have a defenseforthe

    rem ovalofpoliticaland religious speech thatdoes nothappen to conform to theirfavored

    religiousand politicalw orldview .z4 Butthose socialm edia w ebsitesdid notm ake such

    aY liationsknown upfrontcausing a classic reliance and inducem entproblem .The Stop Social

    M ediaCensorshipActandtheLanham Actareboth calculated to stop businessesfrom harming

    consum ersthrough broken prom ises,false advtrtisem ent,and fraud.The so-called distandards''

    tloated by Facebook,Twitter,and Youtube have alw aysbeen unclear, vague,and shifting,

    constitutingpersebad faith.R ileitistruethatsocialmediawebsitesmightbeable$%o

    establish standardsofdecency w ithoutrisking liability fordoing so,''whatthey calm otdo isto

    w ebsiteson the internetto grow w ithoutthe fearofcertain liability.The evidence show sfrom
    thereasonable observerperspective thata socialm ediaw ebsite thathas over75 m illion proGle
    usershasttsuY ciently grow n.''Therefore,a statute,such asthe Stop SocialM edia Censorship
    Act,thatallowsvictimsofthedeceytive,fraudulent,anddishonesthonesttradepracticesof
    socialm edia w ebsitesto acquire rellefagainsta socialm edia providerw ith m ore than 75 m illion
    subscribersisconsistentw ith the spiritand çdgrow th goals''ofSection 230,w hich furthercauses
    itto fallsquarely in the state-law exemption. The 75 m illion threshold isnotimposed to treat
    sm allerand largersocialm ediaw ebsites difrerently.The threshold isincluded outofrespectfor
    thedoctrineofpreemption sothattheStop SocialM ediaCensorshipActwillsquarely fallinthe
    state-law exem ption.
            23A BlackLivesM attersocialmediawebsite,aChristian socialm ediawebsite,aM uslim
    socialmediawebsite,anLGBTQ socialmediawebsitecouldcensoranyprofleuserwho
    opposedtheirfundamentaldoctrineandnotbesubjectedtoliabilityundertheStopSocialM edia
    Censorship A ct.
           24The United StatesSuprem e Courtfound thatSecularH um anism isareligion forthe
    purposes ofthe FirstA m endm entEstablishm entClause in Torcaso v.Watkins,361 U .S.488
    (1961);SchoolDistrictofA Bington Townsh+,Pa.v.Schempp,374U.S.203,225(1963);
    UnitedStatesv.Seeger,380US163,166(1965);and Welshv.Unitedstates,398U.S.333
    (1970).MostoftheFederalCourtofAppealshavefoundthatSecularHumanism isareligion in
    casessuchas:(A)Malnakv.Fogf,592F   ..2d 197,200-15(3dCir.1979);Theriaultv.Silber,547
    F.2d1279,1281(5thCir.1977);Thomas&!Review Bd.,450U.S.707,714,101S.Ct.1425,67
    L.Ed.2d624(1981);Lindellv.Mccallum,352F.3d 1107,1110(7thCir.2003);Rcal
    Alternatives,Inc.v.SecyDep 'tofHea1th(f7Human Servs.,150F.Supp.3d419,2017
    WL3324690(3dCir.Auj.4,2017),andCir.2001);and Wellsv.CityandCozln/
                                                                    yofDenver,257
    F.3d1132,1148(10thClr.2001).
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    changethose standards arbitrarily afterthey induced billionsofpeople to subscribe and investin

    userprofiles,having relied on the factthatthe socialm edia w ebsitesm arketed them selvesas

    free,fair,open to thepublic,and neutraltow ardspoliticaland religiousspeech.SeeD omen v.

    nmeo,Inc.,991F.3d66,73(2dCir.2021). ThecourtinNetchoice,LLC etal.,v.Moodyet.al.
    4:21cv220-RH-M AF (N.D.F.L 2021)failedtopickuponthecriticalfactorthatFacebook,
    Tw itter,and Youtube arbitrarily changed theirstandards in bad faith a11the tim e,after

    fraudulently inducingbillionsofpeopletosubscribeand investin theirserviceatgreatpersonal

    expenseto them selves,theirfam ilies,and theircom m unities.Thatcourtignored the shifting

    standardscom pletely,shrugging itofl-in callousdisregard.

           Insum,thiscontroversyisjustaboutmakingthemegasocialmediawebsiteskeeptheir
    prom isesto consum ers.The goalofthe Stop SocialM edia Censorship Actisnotto punish

    disfavored,out-of-state businessesand to stop ordeterthem from exercising theirFirst

    A m endm entrightsin w aysthe Amicidislikes.Thegoalisto force certain socialm ediaw ebsites

    to honortheirprom isesand to live up to the w ay thatthey m arketed them selvesfrom their

    inception in orderto induce reliance.Socialm edia websiteslike Tw itterm arked them selvesas

    being neutralon religion and politics,andthey shouldbelegally forced to remain so despitethe

    unw arranted intlated view thatthe em ployeeswho w ork there aa ogantly harborforthem selves.

            E. The FirstA m endm entIs O n The Side O fThe Stop SocialM edia C ensorship A ct

           The FirstA m endm entcom bined w ith the state'sinherentpolicing pow ers to protect

    consum ersfrom fraud are the underlying legalbasissupporting the Stop SocialM edia

    Censorship A ct.The state ofFloridahasa narrow ly tailored com pelling interestto passthe Stop

    SocialM edia Censorship Actin orderto protectthe varying religious and politicalview softheir

    citizensfrom deceptive censorship tradepracticesbecausethe Defendants,Youtube,and
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    Facebook havesetouttocreateadigitalpublicsquareandthey havesuccessfully doneso

    throughfraud.AttorneyGeneralBarrcalledtheconcerteddeceptiveefrortsofthemajorsocial
    m ediaw ebsitesthe greatestCsbaitand sw itch''ofa1ltim e.25 ThePlaintiFsshould pressthe State

    ofFlorida to enactthe Stop SocialM edia Censorship A ctbecause the State ofFlorida hasa

    narrow ly tailored oom pelling interestto ensure thatitscitizens a11acrossthe politicaland

    religious spectrum s are perm itted to share theirview sin whatam ountsto asthe m odern-day

    digitalpublic square.26 The Stop SocialM edia Censorship A ctisnotabouthelping Dem ocratsor

    Republicansoraboutputting onereligion overanother.Itis aboutm aking socialm edia websites

    thatmarkedthemselvesasbeingneutralonissuesofreligionandpoliticstobejustthat.
    D em ocratsin Haw aii,Rhode lsland,and N ew York are the prim e sponsorofthe Stop Social

    M edia Censorship A ctbecause this isa bi-partisan problem .

                                          VkC O NCLU SIO N .

           ThisCourtm usteitherfind thatin orderto prevaiithe Plaintiffsm ustproceed undera 1aw

    like the Stop SocialM ediaCensorship ActorthatTw ittercannotinvoke Section 230 asa defense

    in view ofthepetition and access clause ofthe FirstA m endm ent.




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            26 A sthe Suprem e Courthassaid, ttthe vastdem ocratic fonlm softhe Internet,and social
    m edia in particular''havebecom e ltthe m ostim portantplaces ...forthe exchangeofview s.''
    Packingham u North Carolina,137S.Ct.1730,1735(2017)(cleanedup).AccordingtothePew
    Research Center,71% ofA m ericansgetnew s from socialm edia.App.534.ltis notsurprising
    then thatnew spublishersfeel(sincreasingly beholden''to digitalplatform s.A pp.90.
Case 1:21-cv-22441-RNS Document 17 Entered on FLSD Docket 07/19/2021 Page 26 of 39




                                    ze
          /s/christopherSevierEsu./ &'-k-
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          FortW alton Beach,FL 32548
           hostwarsmusic@ gmail.com
          www.specialforcesoGibety.com
          w wm chrisseviencom
          m .stopsocialm ediacensorship.com
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          Houston ,Texas77036
          (713)505-0524
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          W aniorsForChrist

                                    CERTIFICATE O F SERVICE

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          900.SanFrancisco,CA 94103iack@twittencom.
          ks/christopherSevierEsq.
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                                         A PPEN DIX A

      1.Alabam a -Drafted asfollowsforthe2022 legislativesession:
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      2.Alaska.Draftedby SenatorShowers(R)forintroductionatthe2022legislativesession:
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      3-Arizona.581428 sponsored by Sen.Townsend (R)-providedby DeFactoAttorneys
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      4.Arkansas.Draftedby Chairman Sen.Clark (R)tobeintroducedatthe2023legislative
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      9.Florida.H'R 33 sponsored by Rep.Sabatini(R)-providedbyDeFactoAttomeysGeneral-
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Case 1:21-cv-22441-RNS Document 17 Entered on FLSD Docket 07/19/2021 Page 28 of 39



   11.Hawaii.58357sponsored by Sen.Gabbard(D)-providedbyDeFactoAttorneysGeneral
   -atthe2021legislativesession:
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   12.Idaho.H0323 sponsoredbyRep.Nichols(R)-providedby DeFactoAttorneysGeneral-
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   13. Illinois.Draftedasfollowsforthe2022 legislativesession:
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   14.Indiana:To be introduced atthe 2022 legislativesession by Rep.Jacobsasfollows:
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   15. Iowa.HF171 sponsored by Rep.Salm on -provided by DeFactoAttorneysGeneral-atthe
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   16.Kansas.1182322 sponsoredbyRep.Gaber(R)-providedbyDeFactoAttomeysGeneral.
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   17.Kentucky.SB 411sponsored by Sen.M ills(R)-providedbyDeFactoAttorneysGeneral-
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   18.Louisiana.SB196sponsored by Sen.M orris(R)-providedbyDeFactoAttom eys
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             19.M aine.LD1609sponsored by Rep.Sampson (R)-providedbyDeFactoAttorneys
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            25.M issouri.HB 482sponsored by Rep.Coldm an (R)-providedby DeFactoAttom eys
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            27. Nebraska.LB621sponsoredby Sen.CurtFriesen (R)-providedby DeFactoAttorneys
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   28. Nevada:To beinkoduced asfollowsatthe2023 legislativetsession:
   29.New Hampshire.HB133 sponsored by Rep.Plett(R)-providedbyDeFactoAttorneys
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   30. New Jersey.A578 sponsored byAsm -Auth -provided by DeFactoAttorneysGeneral-at
   the2021 legislativesession:
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   31. New M exico. To beinkoduced asfollow satthe2022 legislativesession:
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   32. New Yqrk- To beintroduced asfollow satthe2022legislativesession:
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    33.N orth Carolina. 5497 sponsored by Sen.Alexander -provided by DeFactoAttom eys
   General-atthe2021legislative session:
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   34. North Dakota.1K 1144 sponsored by Rep.K ading.-provided by ProfessorHnm burger-
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   36. Oklahom a. 58383 sponsored by Sen.Standridge-provided by DeFactoAttorneys
   G eneral-atthe 2021 legislative session:
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   37.O regon. Töbe inkoduced asfollowsatthe2022 legislative session by Rep.Leif:
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      38. Pennsylvania.SB604 sponsored by Sen.M astriano -provided by D e Facto A tlorneys
      General-atthe2021legislativesession:
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      39. RhodeIsland.H5564sponsored byVella-W ilkinson (D)-providedby DeFacto
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      40.South Carolina.113450sponsored byRep.Burns(R)-providedbyDeFactoAttorneys
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      41. South Dakota. 1181223 sponsored by Rep.Jensen -provided by DeFactoAttorneys
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      42. Tennessee. To be inkoduced asfollowsatthe2022 legislative session:
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      43. Texas.SB12 sponsored by Sen.H ughes -provided by DeFactoAttorneysGeneral-atthe
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      46.Virginia.To beintroduced asfollowsatthe2022 legislative session by DelegateByron:
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   47. W ashington.To be introduced asfollow satthe 2022 legislative session:
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   48. W estVirginia.Tobeintroduced asfollowsatthe2022 legislative session by Sen Azinger:
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   49. W isconsin. To beintroduced asfollow satthe 2022 legislative session:
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   50. W yom ing. SF0100 sponsored by Sen.Steinm etz-provided by ProfessorH amburger-at
   the 2021 legislative session:
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                                            APPEN DW B

              TheA m ended version ofH B 33 -the Stop SocialM edia Censorship A ctForFlorida



          L        I          H O               F        P R E S E N          T

   HB                                                                                  2022

                                    A bill to be entitled
   An act relating to social media websites; providing a short title;
   providing definitions; providing that the owner or operator of a
   social media website is subject to a private right of action by
   certain social media website users in this state under certain
   conditions; providing for damages; authorizing the award of
   reasonable attorney fees and costs; prohibiting a social media
   website from using hate speech as a defense; authorizing the Attorney
   General to bring an action on behalf of social media website users;
   providing exceptions for the deletion or censorship of certain types
        speech; provides for fines by               secretary of state; provides for
   severability; providing an effective date.


          WHEREAS, the Communications Decency A ct was created
   protect decent speech , not deceptive trade practices, and
          WHEREAS, repealing section 230 of the Communications
   Decency Act at the federal level is unnecessary because it
   already includes a state-law exemption and the Stop Social Media
   Censorship A ct was crafted                       squarely in the state-law
   exemption of section 230 to cure abuses of section 230 to
   protect the consumers of this state, and
          WHEREAS, contract law is a state-law issue, and when
   citizen of             state signs up            use certain social media
   websites, they are entering into a contract , and
          WHEREAS, this state has a compelling interest                        holding
   certain social media websites to higher standards for having
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   sub stantially created a digital public square through fraud,
   false advertising, and deceptive trade practices, and
         WHEREAS, major social media websites have engaged in the
   greatest bait and switch of all times by marketing them selves as
   free, fair, and open to         ideas to induce subscribers only to
   then prove otherwise at great expense to consumers and election
   integrity, and
         WHEREA S, breach of contract, false advertising, bad faith ,
   unfair dealing, fraudulent inducement, and deceptive trade
   practices are not protected forms of speech for purpose of the
   first amendment of the United States Constitution or the
  Constitution             state, and
         WHEREAS, the major social media websites have already
   reached critical mass, and they did          through fraud, false
   advertising, and deceptive trade practices at great expense
  the health , safety, and welfare of consumers of this state,
  while making it difficult for others           compete with them , and
         WHEREAS, the state has an interest         helping its citizens
   enjoy their free exercise rights         certain semi-public forums
  commonly used for religious and political speech , regardless
  which political party or religious organization they ascribe to ,
   and
         WHEREA S, this state is generally opposed to online
   censorship unless the content is injurious to children
  promotes human trafficking; only then does this state accept
   limited censorship, and
         WHEREA S, this act is not intended to apply          a website
         merely deletes comments posted by members of the general
  public in response to material published by the website's owner,
  NOW THEREFORE,

  Be It Enacted by the Legislature of the State of Florida :
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        Section 1 . This act mav be cited as the ''Stoo Social Media
  Censorship Act .''

        Section           This section is intended to create a statute
  that oarallels the soirit of 47 U .S .C . $ 230 that falls within
  the state 1aw exemption under 47 U .S .C . ; 230 /e1 43) and create a
  civil richt of action that Will deter the followinq :
            (1)    Deceotive trade practices ;
            (2)    False advertisinc ;
            (3)    Breach of contract ;
            (4)    Bad faith ;
            (5)    Unfair dealinc ;
            (6)    Fraudulent inducement ; and
            (7! The stifling of political and religious speech in the
  modern-dav dicital Dublic scuare cultivated bv social media
  websites that have achieved critical mass through fraud .

        Section           Social media website speech ; cause of action ;
  oenalties .-

            (1) A s used in this section . the term :
            (a)    ''Alcorithm '' means a set of instructions desicned to
  perform a specific task.
            (b)    ''Hate soeech'' means a rhrase concernin? content that
  an individual finds offensive based on his or her personal moral
   code .
            (c)    ''Obscenen means that an averace rerson e arplvin?
  contemrorary communitv standards. would find that . taken as a
  whole, the dominant theme of the material arreals to prurient
  interests .
            (d !   ''Political speech'' means speech relating to the state,
  covernm ent, bodv oolitic , or rublic administration as it relates
  to covernmental Dolicvmakinc . The term includes speech by the
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   covernment or a candidate for office and anv discussion of
   social issues . The term does not include speech concerning the
   adm inistration , law , or civil aspects of covernment .
         (e)    ''Relicious soeech n m eans a set of unrroven answers,
                                                                   .'

   truth claims , faith-based assumptions. and naked assertions that
   attemot to exrlain such creater cuestions created . what .
   constitutes richt and wronc what happens after death .
         (f)    ''Social m edia website'':
          1 . Means an Internet web site or arrlication that enables
   users to communicate with each other by posting information .
   comments, messaces , or imaces and that m eets a11 of the
   followinc recuirements :
        i.     Ts open to the public .
        ii . Has more than 75 million subscribers with rersonal
   user profiles .
        iii .    From its inceotion . has not been srecificallv
   affiliated with anv one relicion or rolitical party .
        iv .    Provides a means for the website 's users to report
   obscene materials and has in rlace rrocedures for evaluatin?
   those reports and removing obscene material; and
        v . A llows for sub scribers to sicn up for a Dersonal user
   profile oaqe or account where beliefs and rreferences can be
   expressed by the user.
        2. The term does not include a web site that merelv rermits
  m emb ers of the ceneral public to post comments on content
   published bv the owner of the website .
         (c)    ''User Drofile'' means a collection of settincs and
   information associated with a user or subscriber who signs up
   for an account made available bv a social media website . Such
   accounts often include the exrlicit dicital representation of
   the identitv of the user or subscriber with respect to the
   oreratinc environment of a social media website . Such accounts
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   often associate characteristics with a u ser or subscriber, which
   may helo in ascertaining the interactive behavior of the user
   alonc with their personal preferences and beliefs .
          (2) (ah    The owner or ooerator of a social media website who
   contracts with a social media web site user in this state is
   subn'ect to a Drivate richt of action bv such user if the social
   media website ourposelv :
          1.     Deletes or censors the user 's reliqious speech or
   Dolitical sreech ; or
          2.     Uses an algorithm to disfavor or censure the user 's
   relicious speech or Dolitical sreech .
          (b )    A social media website user may be awarded a1l of the
   following damages under this section :
          1. Uo to $75.000 in statutorv damaces.
         2 . Actual dam ages .
          3. If accravatinc factors are Dresent, runitive damaces .
         4.      Other form s of ecuitable relief .
          (c!     The prevailing party in a cause of action under this
   s e c iion   mav be awarded costs and reasonable attornev fees.
          (d ) A social media website that restores from deletion or
   removes Ehe censorinq of a social media website user's speech in
   a reasonable amount of time may use that fact to miticate anv
   damages .
          (3)    A social media web site mav not use the social media
   web site user 's alleged hate sreech as a basis for qustification
   or defense of the social media website ls actions at trial .
          (4)    The Attornev General m av also brinc a civil cause of
   action under this section on behalf of a social media website
   user who resides in this state and whose relicious sreech or
   rolitical soeech has been censored by a social media website .
          (5)    This section does not arplv to anv of the followinc :
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         (a)    A social media website that deletes or censors a
   social media web site user 's soeech or that uses an alcorithm to
   disfavor or censure speech that :
         1 . Calls for immediate acts of violence;
         2.     Is obscene . lewd, lascivious. filthy or pornographic in
   natu re ;
         3.     Is the result of ooerational error ;
         4.     Is the result of a court order;
         5.     Comes from an inauthentic source or involves false
  %               .
         6.     Entices criminal conduct ;
         7.     Involves m inors bullvinc m inors ;
         8.     Constitutes trademark or copyright infringement ;
         9.     Is excessivelv violent; and
        10 . Constitutes harassinc spam of the commercial. not
   relicious or rolitical, nature .
        (b ) A social m edia website user 's censorin? of another
   social media website user 's soeech .
         (6)    Only users who are 18 years of age or older have
   standinc to seek enforcement of this section .
         Section 4 . The Secretarv of State mav :
         (1!     Tssue a fine in one of the following amounts if the
   Secretarv of State finds that the social media website has
   engaged in deolatforminc or shadowbanninc a nolitical candidate
   seekinc office in Connecticut in violation of this act :
         (a)     If the candidate is seekinc Statewide office . up to
   S100.000 per day of the violation ;
         (b )    For all other candidates. ur to $10,000 rer dav of the
  violation ; and
         (2) Disclose a social media companv 's alcorithmic bias for
   or acainst a oolitical candidate seekinc Statewide office under
   subsection (1! of this section as a campaign contributian .
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        Section       If anv section in this act or anv rart of anv
  section is declared invalid or unconstitutional, the declaration
  shall not affect the validitv or constitutionalitv of the
  remaininc oortions.
        Section 6.    This act shall take effect July 1, 2021.
